Case 14-14753-RGM                      Doc 18-5 Filed 03/17/15 Entered 03/17/15 14:31:41                        Desc
                                          Notice of Hearing Page 1 of 3


Form B20A (Official Form 20A) (9/97)                               USBC, EDVA, Alexandria Division (12/01/09)
                                                                                              BWW#: 190459

                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division
                                                                          Case No. 14-14753-RGM
IN RE:                                                                    Chapter 7
DENNELL E. HINES
KAREN ANN HINES AKA KAREN A. BLAKENEY

      Debtors
*    * * * *               * * * * * * * * *
                          NOTICE OF MOTION AND NOTICE OF HEARING
       Wells Fargo Bank, N.A. ("Movant"), by and through its counsel, has filed papers with the
court to grant relief from the automatic stay in the above captioned matter.
       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)
       If you do not wish the court to grant the relief sought in the motion, or if you want the
court to consider your views on the motion, then on or before March 31, 2015, you or your
attorney must:
         ● File with the court, at the address shown below, a written response with
           supporting memorandum as required by Local Bankruptcy Rule 9013-1(H).
           Unless a written response and supporting memorandum are filed and served by
           the date specified, the Court may deem any opposition waived, treat the motion
           as conceded, and issue an order granting the requested relief without further
           notice or hearing. If you mail your response to the court for filing, you must
           mail it early enough so the court will receive it on or before the date stated
           above. You must also mail a copy to the persons listed below. The address of
           the clerk's office is as follows:
                                         Clerk of Court
                                         United States Bankruptcy Court
                                         200 S. Washington Street
                                         Alexandria, VA 22314




Jason Michael Floyd, VSB# 87522
8100 Three Chopt Rd., Suite 240
Richmond, VA 23229
(804) 282-0463
Attorney for the Movant
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      ●   Attend the hearing scheduled to be held on April 15, 2015 at 9:30 am at United
          States Bankruptcy Court, in Courtroom 1, United States Bankruptcy Court, U.S.
          Courthouse Annex, 200 S. Washington Street, Alexandria, VA 22314. If no timely
          response has been filed opposing the relief requested, the court may grant the relief
          without holding a hearing.
      ●   A copy of any written response must be mailed to the following persons:
          Jason Michael Floyd, Esq.
          8100 Three Chopt Rd., Suite 240
          Richmond, VA 23229

          Dennell Hines aka Dennell E. Hines
          16630 Reservoir Loop
          Dumfries, VA 22026

          Karen Blakeney aka Karen Ann Hines aka Karen A. Blakeney
          16630 Reservoir Loop
          Dumfries, VA 22026

          Thomas M. Curtis, Esq.
          6405 Fleetside Court
          Alexandria, VA 22310

          Donald F. King, Trustee
          1775 Wiehle Avenue, Suite 400
          Reston, VA 20190

     If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.
Dated: March 17, 2015                       Respectfully Submitted,
                                            BWW Law Group, LLC

                                             /s/ Jason Michael Floyd
                                            Jason Michael Floyd, VSB# 87522
                                            BWW Law Group, LLC
                                            8100 Three Chopt Rd., Suite 240
                                            Richmond, VA 23229
                                            (804) 282-0463
                                            (804) 282-0541 (facsimile)
                                            bankruptcy@bww-law.com
                                            Attorney for the Movant
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                                     CERTIFICATION
      I hereby certify that on this 17th day of March 2015, the following person(s) were
or will be served with a copy of the foregoing Notice of Motion and Notice of Hearing via
the CM/ECF system or by first class mail, postage prepaid:
Donald F. King, Trustee
1775 Wiehle Avenue, Suite 400
Reston, VA 20190

Thomas M. Curtis, Esq.
6405 Fleetside Court
Alexandria, VA 22310

Karen Blakeney aka Karen Ann Hines aka Karen A. Blakeney
16630 Reservoir Loop
Dumfries, VA 22026

Dennell Hines aka Dennell E. Hines
16630 Reservoir Loop
Dumfries, VA 22026




                                                /s/ Jason Michael Floyd
                                               __________________________
                                               Jason Michael Floyd
